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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


PARTICLE HEALTH INC.,

                                        Plaintiff,

                       vs.                             Civil Action No. 1:24-cv-07174-NRB

EPIC SYSTEMS CORPORATION,

                                      Defendant.


          DECLARATION OF LAUREN A. MOSKOWITZ IN SUPPORT OF
    EPIC SYSTEMS CORPORATION’S MOTION TO DISMISS THE COMPLAINT

I, Lauren A. Moskowitz, declare as follows:

        1.     I am an attorney at Cravath, Swaine & Moore LLP and counsel for Epic Systems

Corporation (“Epic”) in this litigation. I am an active member of the Bar of the State of New

York and am admitted to practice before this Court.

        2.     I make this declaration based upon my knowledge of the facts stated herein, and if

called to testify, I could and would do so competently. I submit this declaration in support of

Epic’s Motion to Dismiss Particle Health Inc.’s Complaint:

        3.     Attached hereto as Exhibit 1 is a true and complete copy of a document titled

“Carequality Dispute: Final Resolution (Redacted)” with the subtitle “Epic – Particle Health

Dispute”, dated October 3, 2024. The document contains a footer that states that it was

“Redacted for Public Release”.

        4.     Attached hereto as Exhibit 2 is a true and complete copy of a document titled

“Issue Notification” with the subtitle “Third-Party Security and Privacy Risk”, dated April 10,

2024.
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       5.      Attached hereto as Exhibit 3 is a true and complete copy of an email with the

subject line “Inappropriate Disclosures to Integritort via Particle Health”, dated June 28, 2024.

       6.      I declare under penalty of perjury that the foregoing is true and complete, and that

I executed this declaration on December 19, 2024, in New York, New York.

Dated: December 19, 2024                                Respectfully Submitted,

                                                         /s/ Lauren A. Moskowitz
                                                         Lauren A. Moskowitz
                                                         CRAVATH, SWAINE & MOORE LLP
                                                         Two Manhattan West
                                                         375 Ninth Avenue
                                                         New York, NY 10011
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                                                         Attorney for Defendant Epic Systems
                                                         Corporation




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